          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:94cr126


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
DAVID LEE DRAYTON.        )
                          )


      THIS MATTER is before the Court on the Defendant’s Motion to Correct

Error [Doc. 415] and the Defendant’s Motion for Bond [Doc. 416], filed June

12, 2009.

      The Defendant was indicted on September 8, 1994 and charged with

conspiracy to possess with intent to distribute, and distribute, cocaine and

cocaine base, within 1,000 feet of a school and/or playground, in violation of

21 U.S.C. §§ 846 and 841(a)(1). [Doc. 4]. On October 18, 1994, the

Government filed a notice pursuant to 21 U.S.C. § 851, indicating that it

intended to rely on the Defendant’s prior felony drug trafficking conviction for

purposes of sentencing. [Doc. 72]. On December 5, 1994, the Defendant

pled guilty to the conspiracy charge, pursuant to a written plea agreement.




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Pursuant to this agreement, the parties agreed that the Defendant was

responsible for more than 1.5 kilograms of crack cocaine. [Doc. 126].

     According to the Presentence Report (PSR), the Defendant’s Guidelines

range of imprisonment, based on a total offense level of 39 and a criminal

history category of VI, was between 360 months and life. Based upon the

Defendant’s prior drug conviction and the § 851 Information, the Defendant

was subject to a mandatory minimum sentence of 240 months of

imprisonment.     Based upon the Government’s recommendation of a

downward departure pursuant to 18 U.S.C. § 3553(e) and U.S.S.G. § 5K1.1,

the Court departed downward by six levels and sentenced the Defendant to

the mandatory minimum of 240 months of imprisonment. Judgment was

entered on March 7, 1996. [Doc. 244].

     On June 17, 2008, the Defendant filed a motion through counsel for a

further proportionate reduction of his sentence pursuant to 18 U.S.C. §

3582(c)(2) on the basis of Amendment 706 to the United States Sentencing

Guidelines, applicable to crack cocaine offenses. [Doc. 357]. The Probation

Office prepared a Supplemental PSR, concluding that Amendment 706 had

no effect on the Defendant’s sentence, as his Guidelines sentence remained

the statutory minimum of 240 months pursuant to U.S.S.G. § 5G1.1(b).


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[Docs. 364, 365].     The Government filed a Response, opposing the

Defendant’s request for a further reduction in his sentence. [Doc. 366]. On

July 8, 2008, the Court entered an Order, denying the Defendant’s motion.

[Doc. 368]. The Defendant filed an appeal [Doc. 378], which was dismissed

upon motion of the Government on February 19, 2009 [Doc. 409].

      The Defendant, proceeding pro se, now moves pursuant to Rule 36 of

the Federal Rules of Criminal Procedure for an Order correcting his sentence.

[Doc. 415]. For grounds, the Defendant states that the Court “erred as a

matter of law by basing the re-sentencing pursuant to 18 U.S.C. § 3582 on [a]

base level of 39 reduced to an [offense level] of 37" instead of “beginning at

[offense] level 33 [and] reducing it to [offense] level 31 pursuant to Section

3582.” [Doc. 415-2 at 5].

      In order for Amendment 706 to be the basis of a reduction under §

3582(c)(2), the Amendment must have “the effect of lowering the defendant’s

applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B) (emphasis added).

Because the Defendant’s 240-month sentence was based on a statutory

minimum and U.S.S.G. § 5G1.1(b), “it was not based on a sentencing range

lowered by Amendment 706.” United States v. Hood, 556 F.3d 226, 233 (4th

Cir. 2009). As such, the Defendant is not eligible for a reduced sentence


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under § 3582(c)(2), and his motion for relief pursuant to Rule 36 must be

denied.

      Because the Court has determined that the Defendant is not entitled to

a reduction of his sentence pursuant to § 3582(c)(2), his request for bond also

must be denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Correct

Error [Doc. 415] and the Defendant’s Motion for Bond [Doc. 416] are DENIED.

      IT IS SO ORDERED.

                                           Signed: August 4, 2009




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